      Case 1:25-cv-02196-PKC-JRC                     Document 2               Filed 04/21/25      Page 1 of 1 PageID #: 25

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                   Eastern District
                                                 __________         of of
                                                             District  New  York
                                                                          __________

EMRE EROL on behalf of himself and on behalf of all                   )
           others similarly situated,                                 )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.
                                                                      )
                                                                               Civil Action No.   25-cv-2196
   4 NY INC. d/b/a ROCCA CAFE & LOUNGE,                               )
MUSTAFA ALKAN, MEMET ARSLAN, and HUSEYIN                              )
                    KAYMAK                                            )
                                                                      )
                           Defendant(s)                               )

                                                 SUMMONS IN A CIVIL ACTION
                                                                         Mustafa Alkan
To: (Defendant’s name and address) 4 NY Inc. d/b/a Rocca Cafe & Lounge
                                   2712 Emmons Avenue                    c/o 4 NY Inc. d/b/a Rocca Cafe & Lounge
                                   Brooklyn, NY 11235                    2712 Emmons Avenue
                                                                         Brooklyn, NY 11235
                                 Memet Arslan                            Huseyin Kaymak
                                 c/o 4 NY Inc. d/b/a Rocca Cafe & Lounge c/o 4 NY Inc. d/b/a Rocca Cafe & Lounge
                                 2712 Emmons Avenue                      2712 Emmons Avenue
                                 Brooklyn, NY 11235                      Brooklyn, NY 11235
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Robert Wisniewski, Esq.
                                       Robert Wisniewski, P.C.
                                       17 State Street, Suite 820
                                       New York, NY 10004


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                  BRENNA B. MAHONEY
                                                                                  CLERK OF COURT

               4/21/2025
Date:
                                                                                            Signature of Clerk or Deputy Clerk
